                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 STATESVILLE DIVISION
                         CIVIL ACTION NO. 5:13-CR-00002-RLV-DSC
    UNITED STATES OF AMERICA,                             )
                                                          )
                                                          )
                                                          )
      v.                                                  )           ORDER
                                                          )
    BRENT ALLEN DINGESS,                                  )
                                                          )
                   Defendant.                             )
                                                          )

           BEFORE THE COURT is Defendant’s “Motion to Attend Father’s Funeral.” (Doc. 68).

Defendant requests to attend his father’s visitation and funeral scheduled this day.

           Due to security concerns, U.S. Marshal’s Service’s policies and procedures do not provide

for a criminal defendant in federal custody to attend the funeral of a deceased member of the

immediate family under any circumstances. Therefore, Defendant’s request to attend his father’s

funeral must be denied.1

           SO ORDERED.

                                                Signed: December 3, 2015




1
  In certain circumstances, a private viewing may be possible. However, this must have been arranged with the U.S.
Marshal’s Service, with leave of the Court, and requires, among other things, that the Defendant or his sponsor pay
in advance all expenses associated with this endeavor prior to transportation.




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